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                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

IN RE:                                         §
                                               §
DIABETES AMERICA, INC.,                        §     CASE NO. 10-41521-H1-11
                                               §
     Debtor.                                   §
H. MALCOLM LOVETT, JR.,                        §
PLAN AGENT,                                    §
                                               §
       Plaintiff,                              §
                                               §
vs.                                            §     ADVERSARY NO. 12-_______
                                               §
CARDINAL HEALTH, INC. D/B/A                    §
CARDINAL HEALTH                                §
PHARMACEUTICAL DISTRIBUTION,                   §
                                               §
       Defendant.                              §

                   PLAN AGENT’S ORIGINAL COMPLAINT AND
                OBJECTION TO CLAIM OF CARDINAL HEALTH, INC.

To the Honorable Marvin Isgur,
Chief United States Bankruptcy Judge:

       H. Malcolm Lovett, Jr., Plan Agent (the “Plan Agent”) under Diabetes America, Inc.’s

(the “Debtor”) Second Amended Chapter 11 Plan of Liquidation (the “Plan”), files this Original

Complaint and Objection to Claim of Cardinal Health, Inc. d/b/a Cardinal Health Pharmaceutical

Distribution (“Cardinal”).

                                   Parties and Jurisdiction

       1.      The Plan Agent may be served in this adversary through the undersigned counsel.

       2.      Cardinal is an Ohio corporation doing business in the state of Texas. Cardinal

will be served with the complaint and summons at its local and principal business addresses: (i)

7052 Grand Blvd., Ste. 112, Houston, Texas 75247; and (ii) 7000 Cardinal Place, Dublin, Ohio



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43017. Cardinal will also be served with the complaint and summons through its registered

agent for service: CT Corporation System, 1300 East Ninth Street, Cleveland, Ohio 44114 and at

its address listed in the Debtor’s schedules: c/o Ellison & Totz, 2211 Norfolk St., Ste. 510,

Houston, Texas 77098.

        3.       This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(A), (B), (C), (H) and

(O).

        4.       Venue is proper in this district pursuant to 28 U.S.C. § 1409(a).

        5.       This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and

1334. Relief is sought pursuant to 11 U.S.C. §§ 548, 550 and other applicable law.

                             Summary of the Plan Agent’s Complaint

        6.       The Plan Agent seeks (i) to avoid certain pre-petition transfers made to Cardinal;

(ii) to avoid any agreements obligating the Debtor to pay non-Debtor liabilities; and (iii) the

disallowance of Cardinal’s scheduled claim. The Plan Agent also seeks its fees, costs and

interest in accordance with applicable law.

                                    Statement of Relevant Facts

        7.       Prior to the petition date, Cardinal provided certain pharmaceutical-related goods

and/or services to a non-Debtor affiliate, Diabetes Centers of America Pharmacy LLC (“DCOA

Pharmacy”).

        8.       The Debtor had no contractual relationship with Cardinal and received no benefit

from the goods and services provided by Cardinal to DCOA Pharmacy.

        9.       Despite the foregoing, from 2007 to the petition date, the Debtor made the

following payments to Cardinal based on DCOA Pharmacy obligations:




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                      Check/Wire     Payment Date       Amount
                      Transfer
                      ACH010209      01/02/2009        48,206.55
                      CK010909       01/09/2009        41,572.37
                      ACH011609      01/16/2009        57,895.80
                      Draft100907    10/09/2007        73,810.87
                      Draft101207    10/12/2007        25,235.52
                      Ck101907       10/19/2007        32,838.14
                      INV102607      10/26/2007        53,550.05
                      Ck110207       11/02/2007        51,919.80
                      CK110707       11/07/2007         1,961.06
                      CK110909       11/09/2007        36,322.01
                      INV111607      11/16/2007        45,783.94
                      Draft112707    11/27/2007        47,563.13
                      Draft113007    11/30/2007        88,992.97
                      Draft120707    12/07/2007        43,707.87
                      ACH121407      12/14/2007        26,833.84
                      Draft122107    12/21/2007        32,455.19
                      Draft122807    12/28/2007        50,712.77
                      Draft010408    01/04/2008        31,221.08
                      ACH011108      01/11/2008        73,268.17
                      ACH011808      01/18/2008        40,901.51
                      ACH012508      01/25/2008        35,885.51
                      ACH020108      02/01/2008        47,538.04
                      ACH020808      02/08/2008        44,911.31
                      ACH21508       02/15/2008        41,566.76
                      CK022208       02/22/2008        26,519.22
                      ACH022908      02/29/2008        46,041.83
                      CK030708       03/07/2008        46,002.07
                      CK031408       03/14/2008        49,625.89
                      ACH032108      03/21/2008        35,815.88
                      ACH032808      03/28/2008        71,154.87

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                      Check/Wire     Payment Date       Amount
                      Transfer
                      CK040308       04/04/2008        41,692.33
                      CK041108       04/11/2008        39,095.20
                      ACH04108       04/18/2008        42,627.77
                      CK042508       04/25/2008        49,655.99
                      ACH050208      05/02/2008        49,904.01
                      ACH050908      05/09/2008         2,154.26
                      CK050908       05/09/2008        40,627.84
                      CK051308       05/13/2008             7.43
                      ACH051608      05/16/2008        52,627.35
                      CK051608       05/16/2008           427.89
                      CK052308       05/23/2008        38,785.59
                      CK52308b       05/23/2008           380.09
                      CK053008       05/30/2008        47,154.47
                      CK060608       06/06/2008        27,088.92
                      CK061308       06/13/2008        74,098.61
                      CK062008       06/20/2008        34,470.96
                      ACH062708      06/27/2008        41,427.52
                      ACH070708      07/07/2008        50,684.28
                      CK071108       07/11/2008        39,793.07
                      CHK071808      07/18/2008           967.44
                      CK071808       07/18/2008        56,495.79
                      ACH072508      07/25/2008        47,862.52
                      CK080108       08/01/2008        51,558.31
                      ACH080808      08/08/2008        79,919.11
                      727630         08/08/2008           656.95
                      CK081508       08/15/2008        46,247.51
                      ACH082208      08/22/2008           730.81
                      CK082208       08/22/2008        38,553.49
                      ACH082908      08/29/2008           346.64
                      CK082908       08/29/2008        38,464.71

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                      Check/Wire     Payment Date       Amount
                      Transfer
                      ACH090508      09/05/2008        35,448.21
                      090509ACH      09/05/2008            33.80
                      CK091208       09/12/2008        48,689.57
                      ACH091908      09/19/2008           423.32
                      CK091908       09/19/2008        35,770.68
                      CK092608       09/26/2008        42,000.89
                      CK100308       10/03/2008        51,589.23
                      CK101008       10/10/2008        36,485.44
                      CK101708       10/17/2008        48,125.45
                      CK102408       10/24/2008        44,711.71
                      CK103108       10/31/2008        55,463.18
                      CK110708       11/07/2008        38,909.35
                      CK111408       11/14/2008        52,234.33
                      ACH112108      11/21/2008        43,794.63
                      ACH120108      12/01/2008        47,751.91
                      INV120508      12/05/2008        24,413.79
                      CK121209       12/12/2008        83,968.33
                      CK121908       12/19/2008        53,201.29
                      ACH122608      12/26/2008        55,386.85
                      ACH12310       01/23/2009        44,897.88
                      ACH013009      01/30/2009        78,064.76
                      020609         02/06/2009        64,306.40
                      CK021309       02/13/2009       102,254.93
                      ACH022009      02/20/2009        56,592.08
                      CK022709       02/27/2009        63,414.87
                      CK030609       03/06/2009        65,455.15
                      ACH031309      03/13/2009        44,051.93
                      CK032009       03/20/2009        51,666.76
                      ACH032609      03/27/2009        91,701.42
                      ACH040309      04/03/2009        70,724.27

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                       Check/Wire        Payment Date            Amount
                       Transfer
                       CK041009          04/10/2009             43,171.51
                       ACH041709         04/17/2009             52,855.40
                       CK042409          04/24/2009             54,459.94
                       ACH050109         05/01/2009             47,589.86
                       ACH050809         05/08/2009             53,292.66
                       12318             05/11/2010             10,000.00
                       12473             05/25/2010              3,500.00
                       12542             06/08/2010              3,500.00
                       12678             06/22/2010              3,500.00
                       12798             07/06/2010              3,500.00
                       12930             07/20/2010              3,500.00
                       13006             08/03/2010              3,500.00
                       13164             08/17/2010              3,500.00
                       13289             08/31/2010              3,500.00
                       13437             09/14/2010              3,500.00
                       13602             09/28/2010              3,500.00
                       Total                                 4,212,222.66


        10.      The Debtor filed its chapter 11 case on December 21, 2010 [Docket No. 1, Case

No. 10-41521].

        11.      On February 4, 2011, the Debtor scheduled Cardinal as holding an unsecured,

nonpriority claim in the amount of $76,205.34 [Docket No. 96-5, Case No. 10-41521]. The

Cardinal claim is based on DCOA Pharmacy’s obligation.

        12.      On August 17, 2011, the Debtor entered into an Asset Purchase Agreement with

EDG Partners Fund II, L.P. [Docket No. 265, Case No. 10-41521]. The Court approved the sale

procedure, form of asset purchase agreement, form of notice, and bid protections on August 18,

2011 [Docket No. 267, Case No. 10-41521].

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        13.      The Debtor filed its second amended disclosure statement and the Plan on

September 1, 2011 [Docket Nos. 298 and 299, Case No. 10-41521]. On September 2, 2011, the

Court entered an order approving the Debtor’s disclosure statement [Docket No. 302, Case No.

10-41521]. On December 5, 2011, the Court entered an order confirming the Plan [Docket No.

368, Case No. 10-41521].

        14.      The Plan became effective on March 2, 2012.

        15.      Under the Plan, the Plan Agent is granted authority to file claim objections and

bring avoidance actions on behalf of the Liquidating Debtor.

                            Fraudulent Transfers Under 11 U.S.C. § 548

        16.      All pre-petition payments to Cardinal, as well as all pre-petition agreements

between Cardinal and the Debtor regarding the payment of DCOA Pharmacy’s obligations, if

any, should be avoided under 11 U.S.C. § 548. Specifically, the Debtor received less than

reasonably     equivalent    value   for   the   transfers/agreements.    On    the   date   of   the

transfers/agreements, the Debtor (i) was insolvent, or became insolvent as a result thereof; (ii)

was engaged or was about to engage in business in which its property after the

transfers/agreements was unreasonably small capital; and/or (iii) intended to incur or believed it

would incur debts that it would be unable to repay.

        17.      Under § 550(a) of the Bankruptcy Code, the Plan Agent may recover the property

transferred or the value of such transfer from “the initial transferee of such transfer or the entity

for whose benefit such transfer was made.” 11 U.S.C. § 550(a). Cardinal is the initial transferee

and/or the intended beneficiary of the transfers. The Plan Agent requests that the Court enter a

judgment: (i) avoiding all pre-petition transfers to Cardinal, as well as any pre-petition

agreements obligating the Debtor to pay DCOA Pharmacy’s obligations to Cardinal; and (ii)



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ordering the immediate return of all pre-petition payments to Cardinal plus pre- and post-

judgment interest.

                             Fraudulent Transfers under Texas Law

        18.      All payments to and agreements with Cardinal within 4 years prior to the petition

date were made in violation of TEX. BUS. & COM. CODE ANN. § 24.001 et seq. Specifically, the

transfers/agreements were made for less than equivalent consideration and the Debtor (i) was

engaged in business for which the remaining assets were unreasonably small in relation to the

Debtor’s business; or (ii) reasonably should have known that the Debtor was incurring debts

beyond its ability to repay them. TEX. BUS. & COM. CODE ANN. § 24.005. A creditor exists

whose claim arose before or within a reasonable time after the occurrence of the transfers for

whom the Plan Agent can act.

        19.      The transfers/agreements were also made without the Debtor receiving reasonably

equivalent value in exchange for the transfers/agreements and the Debtor was insolvent at the

time of the transfers/agreements. A creditor exists whose claim arose before the occurrence of

the transfers/agreements for whom the Plan Agent can act. TEX. BUS. & COM. CODE ANN. §

24.006(a).

        20.      The Plan Agent seeks the return of all pre-petition payments to Cardinal and/or

money damages against Cardinal pursuant to TEX. BUS. & COM. CODE ANN. § 24.008 and 11

U.S.C. § 550.

                                        Objection to Claim

        21.      The Debtor scheduled Cardinal as holding an unsecured, nonpriority claim in the

amount of $76,205.34. The Cardinal claim is based on an obligation of DCOA Pharmacy and




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should be disallowed in its entirety.      Moreover, Cardinal’s claim should be disallowed in

accordance with 11 U.S.C. § 502(d) pending the repayment of all avoided transfers.

                                          Attorneys’ Fees

        22.      The Plan Agent requests an award of their reasonable fees and costs pursuant to

TEX. BUS. & COM. CODE ANN. § 24.013 and other applicable law.

                          Request for Pre- and Post-Judgment Interest

        23.      The Plan Agent seeks pre-judgment interest on the value of all transfers from the

date of transfer through the date of judgment at the rate of 5% per annum. The Plan Agent seeks

post-judgment interest on all money damages awarded hereunder from the date of judgment until

paid at the prevailing federal judgment rate.

                                                Prayer

        24.      The Plan Agent requests that the Court enter judgment as set forth above, disallow

Cardinal’s scheduled claim, require the immediate return of all pre-petition payments to Cardinal

and grant such other relief as is just.

        Dated: June 26, 2012.

                                                         Respectfully submitted,

                                                         Porter Hedges LLP

                                                  By: /s/ Joshua W. Wolfshohl
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